
PER CURIAM.
In this post-dissolution proceeding, the former wife appeals from orders requiring her to pay certain costs in connection with the sale of the marital home, $5,000 on the sale of her daughter’s coin collection, and attorney’s fees and costs incurred by the former husband in connection with motions to modify child support. We find no merit in the appellant’s contentions, other than with her claim, with which appellee agrees, that she was improperly ordered to reimburse the former husband for outstanding utility bills. Accordingly, we remand to the trial court with instructions to vacate that portion of its order requiring reimbursement for outstanding utility bills, and affirm in all other respects.
Affirmed in part and remanded with instructions to vacate in part.
